                                          Case 19-10323            Doc 1        Filed 02/18/19           Page 1 of 17


Fill 111 this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)     - ------- -------                                Chapter      11
                                                                                                                         D Check if this an
                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/16
If more space Is needed, attach a separate sheet to this fonn. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                 Pernix Slee , Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification       XX-XXXXXXX
     Number (EIN)


4.   Debtor's address              Principal place of business                                   Mailing address, if different from principal place of
                                                                                                 business

                                   10 North Park Place
                                   Suite 201
                                   Morristown, NJ 07960
                                   Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                   Morris                                                        Location of principal assets, if different from principal
                                   County                                                        place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)        htt :l/www.pernixtx.com


6.   Type of debtor                • Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   D Partnership (excluding LLP)
                                   D Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                           Case 19-10323               Doc 1         Filed 02/18/19              Page 2 of 17
Debtor    Pernix Slee
          Name
                            Inc.                                                                                             ----------
                                                                                                        Case number (ii known)
                                                                                                                                      -----
7.   Describe debtor's business        A. Check one:
                                       D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       D Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                       D Railroad (as defined in 11 U.S.C. § 101(44))
                                       D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                       D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       • None of the above

                                       B. Check all that apply
                                       D Tax-exempt entity (as described in 26 U.S.C. §501)
                                       D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §BOa-3)
                                       D Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See httpJ/www.uscourts.gov/four-dlgit-national-association-naics-codes.
                                                3254

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                       D Chapter 7
     debtor filing?
                                       D Chapter 9
                                       • Chapter 11. Check all that apply:
                                                             D    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01 /19 and every 3 years after that).
                                                             D    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(8).
                                                             D    A plan is being filed with this petition.
                                                             D    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             D    The debtor is required to file periodic reports (for example, 1OK and 1 OQ) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             D    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       D Chapter 12



9.   Were prior bankruptcy             •No.
     cases filed by or against
     the debtor within the last 8      D Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                   When     -    - - - - -
                                                                                                                 -
                                                                                                                                 Case number
                                                District -       - - - - --- When ---- - -- Case number

10. Are any bankruptcy cases           D No
    pending or being filed by a
    business partner or an             •Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor     ------------
                                                           See Schedule 1
                                                                          - ------ Relationship
                                                District            --- When
                                                           -- - - - -                              -- - - - -
                                                                                                            -                Case number, if known




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                                          Case 19-10323                Doc 1       Filed 02/18/19             Page 3 of 17
Debtor    Pernix Slee
          Name
                            Inc.                                                                                         - -
                                                                                                    Case number (if known)
                                                                                                                           --------- - -
                                                                                                                                       --
11. Why is the case filed in       Check all that apply:
     this district?
                                   •      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                   •      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or         • No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                   D Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                              D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?
                                              D It needs to be physically secured or protected from the weather.
                                              D It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                              D Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                              D No
                                              D Yes.       Insurance agency
                                                           Contact name
                                                           Phone



          Statistical and administrative information

13. Debtor's estimation of                  Check one:
    available funds
                                            D Funds will be available for distribution to unsecured creditors.

                                            • After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of            • 1-49                                          D 1,000-5,000                               D 25,001-50,000
    creditors                                                                      D 5001-10,000                               D 50,001-100,000
                                   D 50-99
                                   D 100-199                                       D 10,001-25,000                             D More than100,000
                                   D 200-999

15. Estimated Assets               •   $0 - $50,000                                D   $1,000,001 - $10 million                D   $500,000,001 - $1 billion
                                   D   $50,001 - $100,000                          D   $10,000,001 - $50 million               D   $1,000,000,001 - $1o billion
                                   D   $100,001 - $500,000                         D   $50,000,001 - $100 million              D   $10,000,000,001 - $50 billion
                                   D   $500,001 - $1 million                       D   $100,000,001 - $500 million             D   More than $50 billion


16. Estimated liabilities          •   $0 - $50,000                                D   $1,000,001 - $10 million                D   $500,000,001 - $1 billion
                                   D   $50,001 - $100,000                          D   $10,000,001 - $50 million               D   $1,000,000,001 - $10 billion
                                   D   $100,001 - $500,000                         D   $50,000,001 - $100 million              D   $10,000,000,001 - $50 billion
                                   D   $500,001 - $1 million                       D   $100,000,001 - $500 million             D   More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                    Case 19-10323                 Doc 1         Filed 02/18/19               Page 4 of 17


Debtor                      Inc.                                                                     Case number (if known)
                                                                                                                              ----- - - -
                                                                                                                                        - --- - - -
                                                                                                                                                  -


         Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.




                                   ()Jdl:.,�.'"��
                                   Executed on      02/18/2019



                                                                                                            John A. Sedor
                               X                                                                            Printed name

                                   T(&    Authorized Person

                                                             ----....
18. Signature of attorney      X                                                                             Date 02/18/2019
                                                                                                                  MM/ DD /YYYY

                                   Adam G. Landis 3407
                                                   ---               ----           ---------------------------
                                   Printed name

                                   Landis Rath & Cobb LLP
                                   Firm name

                                   919 Market Street
                                   Suite 1800
                                   Wilmin ton, DE 19801
                                   Number, Street, City, State & ZIP Code

                                   Contact phone     (302) 467-4400                Email address      landis@lrclaw.com

                                   3407 DE
                                   Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                        Case 19-10323         Doc 1      Filed 02/18/19         Page 5 of 17



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

PERNIX SLEEP, INC., 1                                         Case No. 19--- ( )

                          Debtor.                             Tax I.D. No. XX-XXXXXXX


                                      SCHEDULE 1 TO PETITION

        On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case (collectively, the "Debtors"), filed a petition in this Court for relief under chapter
11 of title 11 of the United States Code. Contemporaneously with the filing of their petitions, the
Debtors filed a motion requesting that the Court consolidate their chapter 11 cases for procedural
purposes only.

                          Pemix Therapeutics Holdings, Inc.
                          Pemix Ireland Limited
                          Pemix Holdco 3, LLC
                          Pemix Ireland Pain Designated Activity Company
                          Pemix Manufacturing, LLC
                          Pemix Therapeutics, LLC
                          Cypress Pharmaceuticals, Inc.
                          Pemix Holdco 1, LLC
                          Pemix Holdco 2, LLC
                          Respicopea, Inc.
                          Macoven Pharmaceuticals, L.L.C.
                          Gaine, Inc.
                          Hawthorn Pharmaceuticals, Inc.




1
 The last four digits of the Debtor's federal tax identification number are 1599. The Debtor's corporate headquarters
and its mailing address is 10 North Park Place, Suite 201, Morristown, NJ 07960.



{ 1228.001-W0053085.}
                                      Case 19-10323                 Doc 1        Filed 02/18/19              Page 6 of 17


Fill in this information to identify the case:
Debtor Name: Perhlx Sleep. Inc.• el al.
United States Bankruptcy Court for the District of Delaware
Case Number:

                                                                                                                                                   D   Check if this is an
                                                                                                                                                       amended filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
     Largest Unsecured Claims and Are Not Insiders                             12/15

     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not Include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31 ). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
     largest unsecured claims.


                                                                                                                        : Amount of unsecured claim
                                                                                     claim (for                           If the Claim Is fiJllY unse�red, fill in only un$e�red
      Name of creditor and complete              Name, telephone number, and         Nature of the       Indicate if

                                                                                     example, trade                       claim amount, If clalm is partially secured, In
      mailing address, including zip code        email address of creditor contact                       clalm Is

                                                                                     debts, bank         unllquldated, tolal clalrn arriount·aml deduction for value of
                                                                                                         con, tlnge11t,                                                 ·fill
                                                                                     loans,              or disputed collateral or setoff to calculate unsecured claim.
                                                                                     professional
                                                                                     services, and
                                                                                                                         Total claim, if       Deduction for        Unsecured
                                                                                                                         partially             value of             claim
                                                                                                                         secured               collateral or

      Wilmington Trust, National             Alexandre de Rothschild                  Indenture                                                                       $78,225, 000'
                                                                                                                                               setoff

                                            )(T) 612.217.5650                                        ]
     Association                                                                     Trustee to 4.25%
     Isa South Sixth Street
      Suite 1290
                                             (F) 612.217.5651
                                             aderothschild@wilmingtontrust.com
                                                                                     \Convertible
                                                                                                                                                               I
                                                                                                                                                               1-
     Minneapolis, MN 55402                                                     1
                                                                               1dU�  ?.PJ1__
                                                                                     senior Notes

     jWflmington Trust, National              Quinton M. DePompolo             ·Indenture
                                                                                                                                                           -
 2   Association                            :(T) 612-217-5670                  !Trustee to
                                                                                                                                                                      $35,743,J
                                            0
     :so South Sixth Street                  (F) 612-217-5651                   4.25%/5.25%
     'Suite 1290                                 pompolo@wilmingtontrust.com Exchangeable
                                            �
(     Minneaoolis MN 55402                                                       Senior Notes                                              -
      Caremark                              Attn: Senior Vice President, Trade MCO (Part D)                                                                            $3,394,439
     2211 Sanders Rd                        ;Relations
      Northbrook, IL 600 62                   Fax: (847) 559-3428
     '




                                                                                                                                                               l
    Palmetto GBA - TPA Operations           Attn: General Counsel             Coverage Gap                                                                             $2,024,874
 4 '17 Technology Cir                       1-877-534-2772 x1
    Columbia, SC 29203-9591                 tpaoperations@tpadministrator.com

                                            1
     Civil Medicaid Fraud Division              Attn: Office of the Attorney General Settlement                                                                        $2, 000 , 000
 5   PO Box 12548                               Fax: (512) 475-2994
     Austin, Texas 78711-2548

                                                                                                                                               -
     GlaxoSmithKline LLC                     Attn: General Counsel                   Settlement                                                                        $2,000,000
 6
                                                                                                                                           -



     5 Crescent Drive                       Jmarilyn.r.orndorff@gsk.com                                                                                                          1
                                                                                                         Contingent

     Philadelphia PA 19112


      McKesson Corporation                  Mark Miller, VP, Procurement             Wholesaler                                                                        $1,954,634
7    ,6555 State Highway 161                Services McKesson
      Irving, TX 75037                      (972) 446-4202
                                            Mark.Miller@McKesson.com
                                                                                                                       ..
      Cardinal Health                       Attn: General Counsel               Wholesaler                                                                             $1,846, 123·
8      00 0 Cardinal Place                  Fax: 614-652-7325
     1; ublin, OH 43017                     chieflegalofficer@cardinalhealth.co
     r                                      m




                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                              page 1
                                           Case 19-10323                      Doc 1           Filed 02/18/19             Page 7 of 17


        Debtor         Pernix Sleep. lnc.- et al.                                                                   Case number (if
                      Name




                                                                                              ruco                                         $1 ,303,1 7€
9
         Caremark                                þttn: Senior Vice President,
         2211 Sanders Rd                         iTrade Relations
         Northbrook, lL 60062                          (8a7) 5s9-3428
                                                 lFax:
                                                 I
                                                 1


   l\fedicine To Go Pharmacies, lnc.                                                          3ettlement                                   $1,152,500
10 c/o Heffler Claims Group
   1515 Market St. Ste 1700
   Philadelphia, PA 19102

         luick Care Pharmacy lnc.                                                             ?rescription Direct                          $1,068,731
l1
                                                 Sttn:CFO
         130 Crossways Park Drive                                 uickcarepharmacy.com
                                                 lmfans@q
         Suite 101                               1



         Â/oodbury, NY 1 1797                    1


                                                 I

      )efense Health Agency                      þttn: General Counsel, Contract friCare                                                   $r,005
    2
      Iricare Mgmt Activity                      iResource Management (CRM)
         16401 E. Centretech Parkway               rvnnn-neo uests@mail.mil
         Aurora, CO 80011-9066                   lu
                                                 f

                                                                                              Â/holesaler                                    $850,800
    3
         AmerisourceBergen Drug                  Sttn: General Counsel
         Sorporation                                                               rceberge
                                                 ]Ewinderman@amerisou
         1300 Morris Drive                       ln.com
         Chesterbrook PA 1 9087
                                                 1

                                                                                                                                             $814,092
      OptumRx, lnc.
    4 17900 Von Karman Avenue
                                                     þttn: S.V.P., lndustry and               MCO
                                                     lNetwork Relations
      r\¡ts c4016-0202                                     (eae) e88-6085
      lrvine, CA 92614                               lFax:
                                                     I



   RelayHealth                                       lMarina Cantoni Engler                   Coupon Adjudicator                             $750,954
15 1564 N.E. Expressway                              lgz-azuro
   Atlanta, GA 30329                                 jmarina. canton i@mckesson.com
                                                     1


                                                     1
                                                     I


   3igna HealthCare                                  Attn: Alex G. Krikorian, R.Ph.,          MCO (Part D)
I6
   )00 Cottage Grove Road, 85PHR                     ìM.8.4.
         lartford, CT 06152                          jVice President, Pharmaceutical
                                                     iContracting
                                                     lliea mr rrrarrlãl¡inna nnm
         Prime Therapeutics LLC                      iAttn: Vice President                    vtco
I7                                                   iPharmaceutical Trade Relations
         1305 Corporate Center Drive
         Eagan, MN 55121                             ipatrick.mccaw@primetherapeutic
                                                     ls.com
                                                     1




      Prime Therapeutics LLC                         ,Attn: Vice President                    MCO (Part D)
    8
      2900 Ames Crossing Road                        iPharmaceutical Trade Relations
1



      Eagan, MN 55121                                lpatrick.mccaw@primetherapeutic
                                                         ls.com
                                                         1




         Recro Gainesville LLC                                                                Royalty / lnventory                             s572,537
1   I    1300 Gould Drive
         Gainesville, GA 30504

                                                                                                                                               / qô
                              Analytics, LLC -                                                                                                        ^eE
                  ony Health Solutions                              phonyhealth.com

                 E Camelback Road
                    AZ 85016




                                    chapter 11 or chapter          I   cases: List of creditors Who Have the 30 Largest unsecured Claims   page2
trzzg.6egrl\túH!4Ên
                                            Case 19-10323                     Doc 1       Filed 02/18/19              Page 8 of 17


      Debtor         Pernix Sleen. lnc-. et al-                                                                   Case number (tf
                     Name




                                              lAttn: f. Everett Neville,
    lxpress Scripts, lnc.                                                                 MCO                                         $407,825
2'l 3ne Express Way                           lChief Trade Relations Officer
       St. Louis, MO 63121                    lFax: 800-964-1 888
                                              t
                                              I

   r/enable LLP                                                                           ïrade Debt
22
   1290 Ave of Americas, 20th Fl
   \ew York, NY 10104
                                              [:r;fiä:1,fii.i::;l
       rro0om One                                 httn: General                           ìoyalty
23
       100 E. San Antonio
                                                  lOounselneilbkv@gmail.com
       Suite 201San Marcos, TX 78666              {


                                                  t

       Signa HealthCare              lKerri Miller, PharmD                                vlco
 24
       900 Cottage Grove Road, BSPHR lVice President, Pharmaceutical
       Hartford, CT 06152            lContracting
                                            m iller@cigna.com
                                                  lkeni.                                                                                  ,|
    ntegrated Commercialization
       I
                                                  [herese Brooks                          third Party Logistics
 25
    Solutions, lnc.                               F6e-365- 7639
    3101 Gaylord Parkway                                         Brooks@icscon nect.com
    Frisco, TX 75034                              lTheresa.
                                                  I

    lVlarketShareMovers               httn: President                                     Coupon Adjudicator                           $263,54€
 26
    2325 Heritage Center Drive, Suite lsnari .Wales@marketsharemovers.
       317
       Furlong, PA 18925
                                                  1""'
       CPPIB Credit lnvestments                   TAttn:   General Counsel                ìoyalty                                      $250
 27
       ôC Rue Gabriel Lippmann
                                                  |cppibipinvestments@cppib.com
       L-5365 Munsbach
                                                  1

       Luxembourg
                                                  1



           Â/algreen Co.                          httn: General Counsel                   3PO Rebate                                   $231,894
 28                                                              uary@walgreens.com
           300 Wilmot Rd.                         lnxRnt    nq
           lst Floor MS:3240                      I
           leerfield, lL 60015                    t

                                                  t

    Sheffield Pharmaceuticals LLC                 lBill Mencer, Controller                lnventory                                    s211,324
 29 170 Broad Street                              1g6o-442-44si x2216
    \lew London, CT                               leill. Mencerqsheffieldpharma.com
           16320-531 3                                I

                                                      ¡

                                                                                          Non-Debtor JV            Unliquidated           $0,0c
    Nalpropion Pharmaceuticals, lnc.                  iKris Hanson, General Counsel
 30 3171 Towne Centre Drive                                                               Related Party
                                                      lkhanson@nalpropion.com
    Suite 270
    San Diego, CA 92122-1267                          I

                                                      1




{1228.001-w00s3903.}
      Official Form 204              Ghapter 11 or Chapter 9 Gases: List of Creditors Who Have the 30 Largest Unsecured Claims       page 3
                           Case 19-10323      Doc 1      Filed 02/18/19         Page 9 of 17




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re                                                         Chapter   11


PERNIX SLEEP, TNC.,I                                          Case   No.   19-_            (   )

                             Debtor                           Tax I.D. No. XX-XXXXXXX




                               LIST OF EOUITY SECURITY HOLDERS

             The following is a list of debtor Pemix Sleep, Inc.'s equity security holders. This list has

been prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for               filing this chapter l1   case.


         Name and Address of          Holder                                 Percentage

Pernix Holdco 3,LLC                                                            100%
10 North Park Place
Suite 201
Morristown, NJ 07960




t
 The last four digits of the Debtor's federal tax identification number are 1599. The Debtor's corporate headquarters
and its mailing address is l0 North Park Place, Suite 201, Morristown, NJ 07960.




{ 1228.00r   -W00s313s.}
                            Case 19-10323    Doc 1      Filed 02/18/19         Page 10 of 17




                            IN THE UNITED STATE,S BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELA\ilARE

In re:                                                        Chapter 11

PERNIX SLEEP, [NC.,'                                          Case   No.   19-_           (   )

                              Debtor                          Tax I.D. No. XX-XXXXXXX



    STATEMENT OF CORPORATE OWNERSHIP PURSUANT TO RULES 1007(a)(1)
       AND 7007.1 OF THE FEDERAL RULES OF'BANKRUPTCY PROCEDUTìE

              Pursuant to rules 1007(aX1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

and to enable the Judges to evaluate possible disqualification or recusal, the above-captioned

debtor and debtor-in-possession (the o'Debtor") hereby discloses that the following                              are


corporations, other than the Debtor or a governmental unit, that directly or indirectly own ten

percent (10%) or more of any class of the Debtor's equity interests:



Pernix Holdco 3,LLC
10 North Park Place
Suite 201
Morristown, NJ 07960




I
 The last four digits of the Debtor's federal tax identification number are 1599. The Debtor's corporate headquarters
and its mailing address is l0 North Park Place, Suite 201, Morristown, NJ 07960.




 { 1228.00r   -w00s3600.}
                                       Case 19-10323                    Doc 1         Filed 02/18/19         Page 11 of 17




F¡ll in this information to ¡dent¡fy the case:

Debtor      name Pernix Sleep, lnc,
United States Bankruptcy Court for the:                 DISTRICT OF DELAWARE

Case number        (if known)
                                                                                                                                     I   Check if this is an
                                                                                                                                         amended filing



Official Form 202
Declaration Under Penalty of Perj ury for Non-lndividual Debtors                                                                                               12115


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the ident¡ty of the document'
and the date. Bankruptcy Rules 1008 and 9011'

WARNING   - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankiuptcy case can result in fines upto $500,000 or impr¡sonmentfor up to 20 years, or both. 18 U.S'C. SS 152, 1341'
1519, and 3571.



                 Declarat¡on and s¡gnature


       I am the president, another officer, or an authorized agent ofthe corporation; a member or an authorized agent ofthe partnership; or another
       individual serving as a representative of the debtor in this case.

        I have examined         the information in the documents checked below and I have a reasonable belief that the informat¡on is true and correct:

            f]     Schedule NB:Assefs-Rea/ and Personal Property (Official Form 2064/8)
            n      Schedute D: Creditors Who Have Claims Secured by Property (Otficial Form 206D)
            tr     Schedule E/F: Creditors Who Have lJnsecured Claims (Offìcial Form 206E/F)
            tr     Schedute G: Executory Contracts and lJnexpired Leases (Official Form 206G)
            tr     Schedu/e H: Codebtors (Official Form 206H)
            tr     Summary of Assets and L¡abilities for Non-lndividuals (Official Form 206Sum)
            tr     Amended Schedule
            t      Chapterll orChapter                                       Who Have the                       Claims and Are Not                             204)
            T      Other document that requ¡res a declaration                     Equity            Holders and Corporate Ownership Statement

        I   declare under penalty of perjury that the

            Executed on         02/18/2019
                                                                              re of                 on

                                                                           nA.
                                                                              name

                                                                       Authorized Person




Official Form     202                                            Declarat¡on Under Penalty of Perjury for Non-lndividual Debtors
                                                      M.bestcâse.com                                                                                Best Case Bankruptcy
Software Copyright (c) '1996-20'18 Best Case, LLC -
                           Case 19-10323   Doc 1   Filed 02/18/19   Page 12 of 17




                                             Pernix Sleep,Inc.

                             Authorization for Filing Voluntary Petition Under
                           Chapter 11 of the Bankruptcv Code and Related Matters

        The undersigned Director (the "Director") of Pernix Sleep, Inc., a Delaware corporation
(the "Company") and a subsidiary of Pernix Therapeutics Holdings, Inc. (the "Parent"), hereby
adopts the following resolutions (the "Resolutions"):

        WHEREAS, a Special Meeting was held on February 18,2019;

        WHEREAS, the Director has considered the financial and operational conditions of the
Company;

                              has reviewed, considered, and received the recommendation of
         \ilHEREAS, the Director
senior management of the Company and the advice of the Company's professionals and advisors
with resperito th" strategic alternatives available to the Company, including the possibility of
pursuing a restructuring or sale of the Company's business and assets under chapter l1 of title 1l
of the United States Code (as amended or modified, the "Bankruptcy Code");

       WHEREAS, the Parent intends to enter into that certain Senior Secured Superpriority
Debtor-In-Possession Credit Agreement (the "DIP Credit Agreement"), by and among the
Parent, as borrower, the lenders party thereto and Cantor Fitzgerald Securities, as administrative
agent for the benefit of the lenders, in order to obtain financing in an aggregate principal amount
oiup to $35 million (the "DIP Facility"), the proceeds of which will be used, (i) to refinance the
Parent's existing asset-based revolving credit facility, the Credit Agreement, dated as of July 21,
2017 (as amenãed, restated, supplemented or otherwise modified from time to time, the
"Existing Credit Agreement"), by and among the Parent, the Company and certain other
subsidiaries of the Parent, as borrowers, the lenders from time to time party thereto and Cantor
Fitzgerald Securities, as administrative agent for the benefit of the Lenders, (ii) for general
corpãrate and working capital purposes, and (iii) to pay fees, costs and expenses incurred in
connection with the Parent's and its subsidiaries' chapter 11 cases and the DIP Facility;

       WHEREAS, by the terms of the DIP Credit Agreement, the Company and certain other
subsidiaries of the Parent (together with the Company, the "subsidiary Guarantors"; the
Subsidiary Guarantors together with the Parent, the "Loan Parties") are required to enter into the
Guaranty and Security Agreement in order to (l) guarantee, on a joint and several basis, the
Obligations (as defined in the DIP Credit Agreement) under the DIP Credit Agreement and the
other Loan Documents (as defined in the DIP Credit Agreement) and (2) grant first priority
priming liens and security interests in substantially all of their assets and personal property,
whether now owned or hereafter acquired, to secure the obligations of the Parent and the other
Subsidiary Guarantors under the DIP Credit Agreement and the other Loan Documents and to
provide superpriority claim status with respect thereto;

      WHEREAS, the Director has been advised of the material terms of the DIP Credit
Agreement and the other Loan Documents, has given full consideration to the transactions
contemplated by the DIP Credit Agreement and the other Loan Documents, and has determined


{1228.00r -w0054291.   }
                       Case 19-10323   Doc 1       Filed 02/18/19   Page 13 of 17




that the transactions contemplated by the DIP Credit Agreement and the other Loan Documents
are in the best interest of the Company and that it is in the best interest of the Company to (i)
enter into the Guaranty and Security Agreement (the "Guaranty and Security Agreement"), in
order to guaranty the obligations under the DIP Credit Agreement and the other Loan Documents
and to pledge a security interest in substantially all of the Company's assets and personal
property, whether now owned or hereafter acquired, to secure the Secured Obligations (as
defined in the Guaranty and Security Agreement) of the Parent and the other Subsidiary
Guarantors, (ii) execute and deliver any mortgage, deeds of trust, security agreements, pledge
agreements, guarantee agreements, control agreements, intellectual property security agreements,
Uniform Commercial Code financing statements (and any amendment or continuation statements
thereto), subordination agreements, notes, stock powers, stock powers, transfers of interest or
other transfer powers (as applicable), other collateral documents, reaffirmation agreements,
forbearance agreements, intercompany notes and such other agreements, instruments, documents
or certificates otherwise identified in or contemplated by the DIP Credit Agreement or Guaranty
and Collateral Agreement (collectively, the "DIP Transaction Documents") and (iii) authorize
the Authorized Persons (as defined below) to take any and all actions as they may deem
appropriate to effectuate the transactions contemplated by the DIP Credit Agreement, the
Guaranty and Security Agreement and each of the other Loan Documents;

        NOW, THEREFORE' IT IS HEREBY RESOLVED, that after consideration of the
alternatives presented to it and the recommendations of senior management of the Company and
the advice of the Company's professionals and advisors, the Director has determined in its
business judgment that it is in the best interests of the Company, its creditors, employees, other
interested parties, and stakeholders that a voluntary petition be filed by the Company under
chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
Delaware and the filing of such petition is authorized hereby; and it is further

        RESOLVED, that the Director and any officer of the Company (collectively, the
"Authorized Persons") hereby are, and each of them is, authorized and empowered to (a)
execute, verify and file on behalf of the Company all documents necessary or appropriate in
connection with the filing of said bankruptcy petition, including, without limitation, all petitions,
affidavits, declarations, schedules, statements of financial affairs, lists, motions, applications,
pleadings, and other papers or documents in connection with such chapter 1l petition; (b) take
and perform any and all actions deemed necessary and proper to obtain such relief as authorized
herein and in connection with the Company's chapter 11 case; (c) appear as necessary at all
bankruptcy proceedings on behalf of the Company; and (d) pay all such expenses where
necessary or appropriate in order to carry out fully the intent and accomplish the purposes of the
Resolutions adopted herein; and it is further

        RESOLVED, that the Company be, and it hereby is, authorized and empowered to enter
into the Guaranty and Security Agreement and the other DIP Transaction Documents to which it
is a party; and the Authorized Persons are, and each of them is, authorized and empowered to
enter into each of the Guaranty and Security Agreement and the other DIP Transaction
Documents to which it is a party and to consummate all the other transactions contemplated by
such DIP Transaction Documents, including, without limitation, to guarantee the obligations of
the Loan Parties under the DIP Credit Agreement, the Guaranty and Security Agreement and the
other Loan Documents, and to grant superpriority status and first priority priming liens and


{1228.00r-w00s4291.}                           2
                        Case 19-10323   Doc 1       Filed 02/18/19   Page 14 of 17




security interests in, and to pledge, mortgage or grant deeds of trust with respect to, its right, title
and interest in and to its properties and assets, whether now owned or hereafter acquired, to the
extent required to secure the obligations of the Loan Parties under the DIP Credit Agreement, the
Guaranty and Security Agreement and the other Loan Documents; and it is further

         RESOLVED, that each of the Authorized Persons be, and each of them hereby is,
authorized to negotiate, execute and deliver the Guaranty and Security Agreement and the other
DIP Transaction Documents to which the Company is a party in the name and on behalf of the
Company in the form and upon the terms and conditions as any Authorized Person may approve
(sucti approval to be conclusively established by such Authorized Person's execution and
delivery thereof), and to perform the Company's obligations thereunder, including the payment
of any fees and expenses related thereto, and to take all actions in accordance therewith that any
such Auth orized Person may deem necessary or advisable to consummate the transactions
contemplated thereby, and the actions of such Authorized Person in negotiating the terms of, and
in executing and delivering the Guaranty and Security Agreement and the other DIP Transaction
Documents, and any other action taken in connection therewith, on behalf of the Company be,
and the same hereby are, ratified, confirmed, approved and adopted; and it is further

        RESOLVED, that the fiting of Uniform Commercial Code financing statements, and any
amendments and continuation statements thereto, and any other filings, recordations, or
registrations of any DIP Transaction Documents or any other document, agreement, certificate or
initrument in any jurisdictions or with any filing offices as contemplated by or specified in the
relevant Transaction Documents or as otherwise advisable, is hereby authorized in such form as
any Authorized Person shall approve; and it is further

       RESOLVED, that any Authorized Person be, and each of them hereby is, authorized and
empowered in the name and on behalf of the Company to execute and deliver any offtcer's,
secietary's or similar certificate on behalf of the Company in connection with the DIP Credit
Agreement, the Guaranty and Security Agreement or any of the other DIP Transaction
Documents or any amendment to which it is a party and the transactions contemplated therein,
with such changes as such Authorized Person executing the same may approve, such approval to
be conclusively evidenced by the execution and delivery thereof; and it is further

       RESOLVED, that the Asset Purchase Agreement between the Company and Phoenix
Top Holdings LLC (the "Purchase Asreement"), shall be entered into by the Company; and the
Authorized Persons are, and each of them hereby is, authorized and directed to enter into the
Purchase Agreement and each of the ancillary documents to be entered into in connection
therewith (the "Transaction Documents"), and to perform the transactions and obligations
contemplated by the Purchase Agreement and the Transaction Documents, subject to bankruptcy
court approval in the Company's chapter 11 case; and it is further

        RESOLVED, that the retention of Davis Polk & Wardwell LLP pursuant to the June 2,
2016 retention agreement and the execution of any retention agreements, the payment of any
retainers, fees or expenses, and the approval of any matters related thereto, be and hereby are
ratifîed, adopted, and approved in all respects as the acts and deeds of the Company and the
Authorized Persons are, and each of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for

                                                a
 11228.001-w005429r.)                           J
                        Case 19-10323   Doc 1   Filed 02/18/19   Page 15 of 17




authority to retain Davis Polk & Wardwell LLP as the Company's bankruptcy counsel; and it is
further

        RESOLVED, that the retention of Landis Rath & Cobb LLP pursuant to the November
20,2018 retention agreement and the execution of any retention agreements, the payment of any
retainers, fees or expenses, and the approval of any matters related thereto, be and hereby are
ratified, adopted, and approved in all respects as the acts and deeds of the Company and the
Authorized Persons are, and each of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for
authority to retain Landis Rath & Cobb LLP as the Company's Delaware bankruptcy counsel;
and it is further

        RESOLVED, that the retention of Guggenheim Partners, LLC pursuant to the November
2,2018 retention agreement and the execution of any retention agreements, the payment of any
retainers, fees or expenses, and the approval of any matters related thereto, be and hereby are
ratified, adopted, and approved in all respects as the acts and deeds of the Company and the
Authorized Persons are, andeach of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for
authority to retainbuggenheim Partners, LLC as the Company's investment banker; and it is
further

        RESOLVED, that the retention of Ernst & Young LLP pursuant to the Novembet 2,
2018 retention agreement and the execution of any retention agreements, the payment of any
retainers, fees or expenses, and the approval of any matters related thereto, be and hereby are
ratified, adopted, and approved in all respects as the acts and deeds of the Company and the
Authorized Persons are, and each of them hereby is, authorized and directed to immediately upon
and after the fìling of the bankruptcy case execute and cause to be filed an application for
authority to retain Ernst & Young LLP as the Company's financial advisor; and it is further

         RESOLVED, that the retention of Prime Clerk LLC pursuant to the January 24,2019
retention agreement and the execution of any retention agreements, the payment of any retainers,
fees or .*p"nr"., and the approval of any matters related thereto, be and hereby are ratified,
adopted, und upptoued in all respects as the acts and deeds of the Company and the Authorized
Persons ur", und each of them hereby is, authorized and directed to immediately upon and after
the filing of the bankruptcy case execute and cause to be filed an application for authority to
retain Prime Clerk LLC as the Company's notice and claims agent; and it is further

          RESOLVED, that all instruments, agreements, certificates, consents, notices, waivers or
other documents heretofore executed and delivered (or caused to be executed and delivered) and
all acts lawfully done or actions lawfully taken by the Authorized Persons in connection with the
chapter 11 case, the DIP Credit Agreement, the Guaranty and Security Agreement, the DIP
Transaction Documents, the Purchase Agreement, the Transaction Documents, or any further
action to seek relief on behalf of the Company under chapter 11 of the Bankruptcy Code, or in
connection with the chapter l1 case, or any matter related thereto, be, and hereby are, adopted,
ratified, confirmed, and approved in all respects as the acts and deeds of the Company; and it is
further



{1228.001-w0054291. }                           4
                               Case 19-10323   Doc 1       Filed 02/18/19   Page 16 of 17




        RESOLVED, that the authority conferred upon any Authorized Person by this Written
Consent is in addition to, and shall in no way limit, such other authority as such Authorized
Person may have with respect to the subject matter of the foregoing Resolutions, and that the
omission from this Written Consent of any agreement or other arrangement contemplated by any
of the agreements, instruments or documents described in the foregoing Resolutions or any
action to be taken in accordance with any requirement of any of the agreements, instruments or
documents described in the foregoing Resolutions shall in no manner derogate from the authority
of any such Authorized Person to take any and all actions convenient, necessary, advisable or
appropriate to consummate, effectuate, caffy out, perform or further the transactions
contemplated by and the intents and purposes of the foregoing Resolutions; and it is further

        RESOLVED, that any and all acts, actions and transactions heretofore taken by the
Authorized Persons or the Director in the name of and on behalf of the Company in furtherance
of the purpose and intent of any or all of the foregoing Resolutions, be, and hereby are, ratified,
confirmed, approved and approved in all respects, and as acts, actions and transactions on behalf
of the Company.




                               IREMAINDER OF PAGE LEFT BLANK INTENTIONALLY]




I 1228.00r   -w005429   l .)                           5
       Case 19-10323     Doc 1     Filed 02/18/19     Page 17 of 17




                 WHEREOF, the undersigned has executed this resolution   as   of
date




 A.       Director




             lSignature Pøge to Pernix Sleep, Inc. Resolutionsf
